        Case 1:17-cv-00335-GJQ-RSK ECF No. 60-3 filed 10/30/18 PageID.590 Page 1 of 4


Alexander Burke

From:                Alexander Burke
Sent:                Wednesday, October 17, 2018 10:09 AM
To:                  'Olson, Charity A'
Cc:                  Dan Marovitch; 'Siyufy, Karen L.'; 'Larry Smith'
Subject:             RE: Saunders v DONI - Discovery


Charity, 
 
During our telephone conversation yesterday, you told me for the first time that DONI had responded to the requests 
for admission by snail mail, and that it had elected not to respond to our interrogatories and document requests on 
time. I asked you why you had not responded to my inquiries, and why you had not asked for an extension, and you did 
not have an answer.  
 
You promised to have substantive responses to our interrogatories and documents produced by Monday, October 22, 
2018.  
 
DONI’s unilateral decision to take more time for responding to discovery without mentioning it to me, aggravated by 
your failure to respond to my meet and confer communications inquiring about why we haven’t received responses, are 
not well‐taken.  There exists no basis in law or equity for your actions; you just blew me off. This is not the first time in 
this case that you did this; it shall be the last. 
 
Plaintiff’s position is that DONI’s actions and omissions in responding to the discovery requests has resulted in automatic 
and equitable waiver of all objections. Hopefully, we will not have to raise this with the Court. We look forward to a 
thorough and wholesome production of all responsive information and documents on Monday, by email or ftp transfer.  
 
Alex 
 
BURKE LAW OFFICES, LLC                      
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ABurke@BurkeLawLLC.com 
www.BurkeLawLLC.com 
 
From: Olson, Charity A <caolson@varnumlaw.com>  
Sent: Monday, October 15, 2018 10:18 AM 
To: Alexander Burke <ABurke@burkelawllc.com> 
Cc: Dan Marovitch <dmarovitch@burkelawllc.com>; Siyufy, Karen L. <klsiyufy@varnumlaw.com>; Larry Smith 
<lsmith@smithmarco.com> 
Subject: Re: Saunders v DONI ‐ Discovery 
 
Alex, 
 
I am back tomorrow. Lets connect at 1 pm if possible. I can update you at that time.  
 
Thanks 


                                                              1
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On Oct 15, 2018, at 11:09 AM, Alexander Burke <ABurke@burkelawllc.com> wrote: 

Charity, 
  
I’m leaving you another voice mail right now.  
  
We haven’t received DONI’s discovery responses, and are ramping up a motion.  
  
Call me at 773‐456‐1344 if you care to meet and confer.  
  
Alex 
  
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www.BurkeLawLLC.com 
  
From: Alexander Burke <ABurke@burkelawllc.com>  
Sent: Friday, October 12, 2018 4:36 PM 
To: Olson, Charity A <caolson@varnumlaw.com> 
Cc: Dan Marovitch <dmarovitch@burkelawllc.com>; Siyufy, Karen L. <klsiyufy@varnumlaw.com> 
Subject: RE: Saunders v DONI ‐ Discovery 
  
Charity, 
  
We have not heard back from you regarding the discovery responses.  
  
I propose we have a meet and confer telephone call Monday at 11:00am eastern (10:00am central).  
  
Alex  
  
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155 N. Michigan Ave., Suite 9020 
Chicago, IL 60601 
(312)729‐5288 
ABurke@BurkeLawLLC.com 
  
From: Alexander Burke <aburke@burkelawllc.com>  
Sent: Tuesday, October 9, 2018 8:37 PM 
To: Olson, Charity A <caolson@varnumlaw.com> 
Cc: Dan Marovitch <dmarovitch@burkelawllc.com>; Siyufy, Karen L. <klsiyufy@varnumlaw.com> 
Subject: Re: Saunders v DONI ‐ Discovery 
  
Charity 
  
I didn’t see these responses come through. When should we expect them? 

Alex  
                                                         2
       Case 1:17-cv-00335-GJQ-RSK ECF No. 60-3 filed 10/30/18 PageID.592 Page 3 of 4
  
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(312)729‐5288 
ABurke@BurkeLawLLC.com 
 
On Sep 24, 2018, at 4:52 PM, Olson, Charity A <caolson@varnumlaw.com> wrote: 

       Thanks – I really appreciate it. 
         
       I've copied my new assistant, Karen Siyufy, so she is in the loop going forward.  
         
         
       Charity A. Olson
       Counsel
       Direct: (734) 372-2914  

       <image001.png> 
       Varnum LLP                             Main: (734) 372-2900
       300 N. 5th Ave., Suite 230             Fax: (734) 372-2940
       Ann Arbor, Michigan 48104              www.varnumlaw.com 

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       disclosure, or copying is strictly prohibited and may be unlawful. If you have received this communication in error, please
       immediately notify the sender at (734) 372-2900
       ******************************  
       From: Alexander Burke [mailto:aburke@burkelawllc.com]
       Sent: Monday, September 24, 2018 5:24 PM
       To: Olson, Charity A
       Cc: Dan Marovitch
       Subject: Re: Saunders v DONI - Discovery 
         
       That’s fine.  

       Alex Burke 
         
       Burke Law Offices, LLC 
       155 N. Michigan Ave., Suite 9020 
       Chicago, IL 60601 
       (312)729‐5288 
       ABurke@BurkeLawLLC.com 
        
       On Sep 24, 2018, at 4:14 PM, Olson, Charity A <caolson@varnumlaw.com> wrote: 

                 Alex – Not sure if you saw my email or not. Are you OK with my request below? Please 
                 let me know.  
                   
                 Charity A. Olson
                 Counsel
                 Direct: (734) 372-2914  

                 <image001.png> 

                                                                          3
Case 1:17-cv-00335-GJQ-RSK ECF No. 60-3 filed 10/30/18 PageID.593 Page 4 of 4
     Varnum LLP                             Main: (734) 372-2900
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     2900
     ******************************  
     From: Olson, Charity A
     Sent: Monday, September 24, 2018 10:25 AM
     To: Alexander Burke
     Cc: Dan Marovitch
     Subject: Saunders v DONI - Discovery
     Importance: High 
       
     Hi Alex: 
       
     Can I please have another 14 days to serve my responses?  
       
     I have been bogged down with trial prep and two appeals briefs. Now that those items 
     are behind me, I can turn my attention to Plaintiff's requests.  
       
     I appreciate your consideration. 
       
     P.S. My notes reflect that you were going to send me a demand. If I overlooked it, I'm 
     sorry. Let me know. 
       
     Charity A. Olson
     Counsel
     Direct: (734) 372-2914  

     <image001.png> 
     Varnum LLP                             Main: (734) 372-2900
     300 N. 5th Ave., Suite 230             Fax: (734) 372-2940
     Ann Arbor, Michigan 48104              www.varnumlaw.com 

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     ******************************  




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